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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
OREN ROSENSHINE and AMIR ROSENSHINE,

                          Plaintiffs,                                                ORDER
                                                                                18 CV 3572 (LDH)(LB)
        -against-

A. MESHI COSMETICS INDUSTRIES LTD., A TO Z
IMPORT INC., and EYAL NOACH,

                           Defendants.
-----------------------------------------------------------------------X
BLOOM, United States Magistrate Judge:

        Defendants request a stay of the current discovery deadlines pending the Court’s decision on
plaintiffs’ motion to amend the complaint. ECF No. 67. The request is granted. Discovery is stayed until
further order of the Court.


SO ORDERED.



                                                                                    /S/
                                                                      LOIS BLOOM
                                                                      United States Magistrate Judge

Dated: December 18, 2020
       Brooklyn, New York




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